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      8                         UNITED STATES DISTRICT COURT
      9             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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    11      CONSTRUCTION LABORERS TRUST                 CASE NO.: 2:10-CV-05031 AHM-MAN
            FUNDS FOR SOUTHERN
    12      CALIFORNIA ADMINISTRATIVE                   XXXXXXXXXXX
                                                        [PROPOSED] RENEWAL OF
            COMPANY, a Delaware limited liability       JUDGMENT BY CLERK
    13      company,
                                                        [NO HEARING SCHEDULED]
    14                        Plaintiff,
    15           vs.
    16      SABAS PEREZ AGUILAR, an
            individual also known as PEREZ A.
    17      SABAS, SABAS PEREZ and SAVAS
            PEREZ doing business as PERSA
    18      CONSTRUCTION,

    19                        Defendant.

    20

    21           Judgment Debtor, SABAS PEREZ AGUILAR, an individual also known as
    22      PEREZ A. SABAS, SABAS PEREZ and SAVAS PEREZ doing business as PERSA
    23      CONSTRUCTION (hereinafter referred to as "DEBTOR"), having had Judgment
    24      entered against DEBTOR on November 24, 2010, renewed on February 9, 2016, and
    25      amended on March 17, 2016.
    26           NOW, upon application of Plaintiff and Judgment Creditor, CONSTRUCTION
    27      LABORERS TRUST FUNDS FOR SOUTHERN CALIFORNIA
    28      ADMINISTRATIVE COMPANY, LLC, the administrator, agent for collection and a

#411584.1                                           1
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      1     fiduciary to the LABORERS HEALTH AND WELFARE TRUST FUND FOR
      2     SOUTHERN CALIFORNIA; CONSTRUCTION LABORERS PENSION TRUST
      3     FOR SOUTHERN CALIFORNIA; CONSTRUCTION LABORERS VACATION

      4     TRUST FOR SOUTHERN CALIFORNIA; LABORERS TRAINING AND RE-

      5
            TRAINING TRUST FUND FOR SOUTHERN CALIFORNIA; FUND FOR
            CONSTRUCTION INDUSTRY ADVANCEMENT, CENTER FOR CONTRACT
      6
            COMPLIANCE and LABORERS CONTRACT ADMINISTRATION TRUST FUND
      7
            FOR SOUTHERN CALIFORNIA, (hereinafter referred to as "JUDGMENT
      8
            CREDITOR"), upon declaration that DEBTOR has failed to pay the total amount of
      9
            said Judgment and is indebted to JUDGMENT CREDITOR the Judgment is renewed.
    10
                  1.     Abstracts of Judgment were recorded in the County of Los Angeles as
    11
            follows:
    12
                         Date:                     County:             Instrument No.:
    13
                         July 13, 2011             Los Angeles         #20110939346
    14
                         December 14, 2015         Los Angeles         #20151569019
    15
                  2.     Application for Renewal of Judgment and Renewal of Judgment were
    16
            recorded as follows:
    17
                            Date:                  County:             Instrument No.:
    18
                            02/24/16               Los Angeles         #20160198588
    19
                            03/28/16               Los Angeles         #20160336818
    20
                  3.     A Judgment Lien was filed with the California Secretary of State on June
    21
            6, 2011, as instrument number 11-7272890875.
    22
                  4.     Interest has accrued on the Judgment at 0.27%, the rate of interest
    23
            established on the date Judgment was originally entered on November 24, 2010. The
    24
            interest rate is based upon “the rate equal to the coupon issue yield equivalent of the
    25
            average accepted auction price for the last auction of fifty-two week United States
    26
            Treasury bills” settled immediately preceding entry of judgment, as provided for by
    27
            28 U.S.C. § 1961 and 40 U.S.C. § 3116.
    28


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      1           The money Judgment against DEBTOR is renewed in the amount of $7,062.36
      2     as follows:
      3                   a.   Total Judgment…………………………………… $ 6,965.26

      4                   b.   Costs after Judgment……………………………… $                  0.00

      5                   c.   Less Credits after Judgment………………….…… $             0.00

      6                   d.   Interest after Judgment computed from

      7                        February 9, 2016 to March 29, 2021, 2021 at 0.27%

      8                        accruing at $0.05 per day……………….……....... $         97.10

      9                   e.   Total Renewed Judgment………………….…….... $ 7,062.36

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    13      DATED: ______________
                    April 23, 2021             _________________________________
                                             DEPUTY CLERK OF THE COURT
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